Case 2:20-cv-00012-JRS-MJD Document 72-1 Filed 06/16/21 Page 1 of 1 PageID #: 789


 'Declaration of Martin S. Gottesfeld
       I declare as follows pursuant to 28 U.S.C. § 1746(1):
       1. I am Martin S. Gottesfeld, Petitioner in Go:t.:te~neld v.   Lamme~,   2:20-
  cv-00012-JRS-MJD (S.D. Ind.) (hereinafter the "case").
       2. Yesterday The U.S. Court of Appeals for The First Circuit held oral
  argument in my direct appeal of the conviction underlying my incarceration.
  See Unlted S~a;te~ v. Go:t.:te~field, 18-1669 (1st Cir. June 8, 2021).
       3. I have conferred with my First Circuit criminal-appellate counsel and
  there is, at least, a reasonable probability my conviction will be reversed.
       4. In turn, there is a reasonable probability the instant case will be
  rendered moot, but further research is prudent to ensure preservation of my
  rights to damages remedies. See, e.g., Ca~~ v. O'Lea~y, 167 F.3d 1124, 1127-
  28 (7th Cir. 1999); Muhammed v. Clo~e, 540 U.S. 749 (2004); and Savo~y v.
  Cannon, 947 F.3d 409, 422-24 (7th Cir. 2020).
       5. I am also considering the filing of a motion for bail pending appeal,
  and whether first to try to complete the instant litigation for strategic
  reasons; this too requires diligent research.
       6. I am still seeking to retain counsel to represent me in the instant
  case too, and this process is materially delayed by my CMU placement. See
  A~e6 v. LynQh, 833 F.3d 242, 247 (D.C. Cir. 2016) ("CMU inmates have access to
  more limited and less private communications compared to general population
  inmates").
       7. Whether or not my conviction is .reversed I shall ·either 1) voluntarily
  move to dismiss the instant case, or 2) seek to proceed with counsel.
       8. My instant request for an extension is thus in the interests of both
  judicial economy and my right to representation.
        I declare under penalty of perjury under the laws of the United States of
  America that the foregoing is true and correct. Executed Wednesday, June 9,
  2021.

   by:~G-
       Martin S. Gottesfeld




                                   - Page 1 of 1 -
                                  - Page 3 of 3 -
